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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE




UNITED STATES OF AMERICA            )
                                    )
                                    )
                                    )
v.                                  )            NO. 2:04-CR-57-DBH
                                    )
LEROY MOSLEY, JR.                   )
                                    )
                  DEFENDANT         )




       ORDER ON DEFENDANT’S MOTION TO REDUCE SENTENCE


      The defendant seeks a sentence reduction under the new crack cocaine

Guideline calculations.   Mot. Requesting a Sentence Reduction (Docket Item

223). However, he was originally sentenced under the Career Offender

Guideline, not the drug quantity Guideline. As I stated in 2008, when I denied

his previous request to reduce his sentence when the crack cocaine quantity

calculations changed:

      The defendant’s sentence was not based on Guideline
      calculations of the quantity of crack/cocaine base, but upon
      the fact that he was a career offender. The relevance of the 50
      grams of crack/cocaine base [to which he pleaded guilty] was
      to make him subject to a maximum term of life imprisonment
      under the statute. 21 U.S.C. § 841(b)(1)(A). That is what drove
      the Guideline range, not the Guideline calculation for crack
      cocaine. Applying the new, more lenient crack/cocaine base
      Guideline simply would not affect Mosley’s sentence.
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Order on Defendant’s Motion to Reduce Sentence at 2 (Docket Item 202).

         That same reasoning applies to the new Guideline calculations. It is true

that under the Fair Sentencing Act, 50 grams or more of cocaine base would no

longer generate the same base offense level under the Career Offender

Guideline.     That is because the Career Offender Guideline is tied to the

maximum statutory penalty for an offense and the Fair Sentencing Act changed

the maximum statutory penalties going forward. But those changes are not

retroactive, United States v. Goncalves, 642 F.3d 245, 252 (1st Cir. 2011);

United States v. Perez, 2011 WL 5403145 *3 (D. Mass. Nov. 4, 2011) (“Given

that the statutory ranges themselves are not retroactive, there is no reason to

infer that career offender levels calculated based on those ranges would be, at

least absent some legislative enactment or guideline amendment indicating

so.”).    Moreover, the authority Congress granted the Commission to make

retroactive guideline changes does not include statutory changes, and the

amendment history makes clear that the Commission did not intend to alter

sentences pursuant to the Career Offender and Armed Career Criminal

guidelines. See U.S. Sentencing Guidelines Manual app. C at 394, Amendment

750 (“Other offenders are sentenced pursuant to § § 4B1.1 (Career Offender)

and 4B1.4 (Armed Career Criminal), which result in sentencing guideline

ranges that are unaffected by a reduction in the Drug Quantity Table.”)




                                                                                2
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      Therefore the motion is DENIED.1


      SO ORDERED.

      DATED THIS 1ST DAY OF DECEMBER, 2011



                                             /S/D. BROCK HORNBY
                                             D. BROCK HORNBY
                                             UNITED STATES DISTRICT JUDGE




1 The defendant has also filed a motion to enforce specific performance of the plea
agreement. Mot. to Enforce Specific Performance of the Plea Agreement (Docket Item
224). Expecting that he can be resentenced, he wants the government to tell me of his
cooperation. See Mot. Requesting a Sentence Reduction at 8 (Docket Item 223).
Because I have no authority to resentence him, there is no reason to order the
government to provide me such information. That separate motion is also DENIED.

                                                                                   3
